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12
13                       IN THE UNITED STATES DISTRICT COURT
14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                  Case No. 2:21-cr-00941-SB
                                                Hon. Stanley Blumenfeld, Jr.
17         Plaintiff,
18   v.                                         REPLY BRIEF IN SUPPORT OF
                                                DEFENDANT’S RULE 29 MOTION
19   JEFFREY FORTENBERRY,                       FOR JUDGMENT OF ACQUITTAL
20         Defendant.
                                                Hearing Date: June 28, 2022
21                                              Hearing Time: 8:30 a.m.
22                                              Indictment: Oct. 19, 2021
23                                              Trial: March 16, 2022

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 1                                      INTRODUCTION
 2         The DOJ and FBI possess “immense power to strike at citizens, not with mere
 3 individual strength, but with all the force of the government itself.” Robert H. Jackson, The
 4 Federal Prosecutor, 24 Judiature 18, 18 (1940) (address delivered at the Second Annual
 5 Conference of United States Attorneys, April 1, 1940). The power held by these agencies
 6 is so formidable relative to that of an individual that Justice Jackson once admonished
 7 federal prosecutors that the “citizen’s safety” depends on them acting with exceptional
 8 judiciousness and “humility.” Id.
 9         Against this backgound, distinguished jurists of all political and jurisprudential
10 backgrounds have observed in recent times that Section 1001 has unintentionally conferred
11 “extraordinary authority” on federal agents and prosecutors to “manufacture crimes.”
12 United States v. Brogan, 522 U.S. 398, 409 (1998) (Ginsburg, J., concurring). As Justices
13 Ginsburg and Souter have explained, law enforcement officers can easily “create crimes”
14 under Section 1001 for false statements that “misled no one,” as a “substitute” for crimes
15 they suspect an individual committed but cannot prove. Id. at 415-16.
16         The Government argues that the materiality element of Section 1001 sufficiently
17 circumscribes Section 1001 to avoid the statute from being unconstitutionally void for
18 vagueness. But Justices Ginsburg and Souter reached the opposite conclusion in their
19 concurring opinion in Brogan, observing that “[t]he controls now in place . . . do not meet
20 the basic issue, i.e., the sweeping generality of § 1001’s language.” Id at 416.
21         This case and other recent high-profile prosecutions have brought the dangers of
22 Section 1001 into sharp focus for all to see. The facts of this case and others show that
23 Section 1001 is particularly subject to abuse when applied to covert investigations. When a
24 person who is interviewed is not fully informed of the nature of the investigation or the true
25 purpose of the questioning, that person necessarily lacks the insight necessary to ascertain
26 what might be material to the investigation. That danger is magnified when federal agents
27 affirmatively mislead a person regarding the true nature and purpose of their questions, as
28 the agents did in the Lincoln interview in this case. Under such circumstances, Section 1001
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 1 is susceptible to “arbitrary and discriminatory treatment” that the void-for-vagueness
 2 doctrine is intended to prevent. See Kolender v. Lawson, 461 U.S. 352, 357 (1983).
 3         Judgment of acquittal should also be entered because the Government has identified
 4 no specific Government decision that could have been affected by the statements at issue in
 5 any of the three counts against Mr. Fortenberry. The Government contends in its Opposition
 6 that it need not make any such showing, and that it is sufficient for false statements to have
 7 the potential to cause investigators to further investigate the veracity of the defendant’s
 8 statements. But the Government’s position is contrary to the Supreme Court’s decisions in
 9 United States v. Gaudin, 515 U.S. 506 (1995), and Kungys v. United States, 485 U.S. 759,
10 770 (1988). It is also contrary to positions taken by the Department of Justice in connection
11 with the prosecution of General Flynn, where the Government embraced a test for
12 materiality substantially identical to the one urged here by Mr. Fortenberry.
13         Before the FBI and DOJ interviewed then-Congressman Fortenberry, they admittedly
14 knew all there was to know about the call he received from Dr. Ayoub. They orchestrated
15 the call, told Dr. Ayoub what to say, and made a complete contemporaneous recording. As
16 Special Agent Choe admitted at trial, the real purpose of the interviews was simply to test
17 Mr. Fortenberry’s veracity. There was no pending decision the Government needed to make
18 that Mr. Fortenberry’s statements could reasonably have influenced.
19         The immateriality of the statements at issue are especially clear with respect to the
20 statements underlying Count 2, which are all literally true and which were plainly not
21 misleading when taken in the context of other disclosures by Mr. Fortenberry. Under the
22 Supreme Court’s decision in Bronston v. United States, such literally true statements cannot
23 be the basis of a conviction under Section 1001, even if they were in some way misleading
24 or “calculated to evade.” 409 U.S. 352, 361 (1973). And under the Ninth Circuit’s decision
25 in United States v. Jiang, 476 F.3d 1026 (2007) (reversing Section 1001 conviction because
26 statements were not misleading in the context of other statements made by the defendant
27 and other relevant circumstances), no reasonable jury could find the statements underlying
28 Court 2 to be material beyond a reasonable doubt.
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 1                                        ARGUMENT
 2 I.      THE PROSECUTION FAILED TO INTRODUCE SUBSTANTIAL
           EVIDENCE THAT CONGRESSMAN FORTENBERRY’S STATEMENTS
 3         WERE “MATERIAL”
 4         A.    The Government Ignores the Context of the Statements at Issue,
 5               Creating a Misleading Impression of Mr. Fortenberry’s Conduct.

 6         As an initial matter, it is important to note that the Government significantly
 7 mischaracterizes the various statements at issue by ignoring related statements that provide
 8 important context. The Government falsely suggests that Mr. Fortenberry made false
 9 statements “denying any knowledge that he received illegal campaign contributions.”
10 Opp’n at 2 (emphasis added). But that’s not what happened.
11         Mr. Fortenberry made extensive disclosures in both interviews about the call from
12 Dr. Ayoub, which he said gave him “concern” that Gilbert Chagoury, a foreign national,
13 might have somehow been involved in his February 2016 fundraiser. See generally, Trial
14 Ex. 1108 at 8:36 to 10:55, and 14:18 to 15:56 (portions of Lincoln interview; Exs. 145, 146,
15 147, 1133 (portions of D.C. interview).
16         During the Lincoln interview, Mr. Fortenberry informed the agents that Dr. Ayoub
17 was involved in a fundraiser he held in Los Angeles. Trial Tr. 3/22/2022 at 107-08. Mr.
18 Fortenberry also stated that Dr. Ayoub made a comment suggesting that Gilbert Chagoury
19 might have somehow been involved in the February 2016 fundraiser. Trial Exs. 129 and
20 130; Trial Tr. 3/22/2022 at 81-82, 108 (“There was a comment made that we would have to
21 ask Gilbert along the way.”). He also disclosed that he believed Mr. Chagoury was a foreign
22 national. Trial Tr. 3/22/2022 at 60-61.
23         Additionally, Mr. Fortenberry disclosed that he had received two phone calls from
24 Dr. Ayoub within the last two years, that Dr. Ayoub had previously helped to host a
25 fundraiser for him, and that they discussed possibly doing another one. Trial Ex. 128; Trial
26 Tr. 3/22/2022 at 76-79. In addition, Mr. Fortenberry identified Toufic Baaklini as being
27 involved with the fundraiser hosted by Dr. Ayoub. Id. at 63-64.
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 1         Later in the Lincoln interview, in response to questions about his awareness of any
 2 illegal foreign contributions to his campaign, 1 Mr. Fortenberry indicated that he was
 3 “concerned” and attempted to discuss the February 2016 events in Los Angeles. Trial Ex.
 4 1108 at 8:36 to 10:55; Exhibit 131; see also Trial Tr. 3/22/2022 109, 120:11-19. But Agents
 5 Carter and O’Leary interrupted him. Id.; see also Trial Tr. 3/22/2022 at 122:2–125:10.
 6         When Agent Carter again asked Mr. Fortenberry if he was “aware of any foreign
 7 nationals that may have contributed to his campaigns,” Mr. Fortenberry again responded by
 8 trying to discuss the February 2016 events in Los Angeles and the people involved. Mr.
 9 Fortenberry stated: “The only thing that’s concerning me about the conversation is, again
10 there were a couple of people . . . that are connected to the broader community.” Trial Ex.
11 1108; see also Trial Tr. 3/22/2022 at 122; 128:1-19. But again, the agents cut off Mr.
12 Fortenberry to prevent him from naming the “couple of people” he was trying to discuss.
13 Trial Ex. 1108; see also Trial Tr. 3/22/2022 at 128:23–129:24. Instead of allowing him to
14 fully address their question as to whether he was “aware” of illegal foreign campaign
15 contributions, the agents instead shifted the discussion to the timing of the events. Id. at
16 129:15–131:25. Agent Carter then promptly wrapped up the interview without ever asking
17 Mr. Fortenberry to finish what he was trying to tell them.
18         In the Washington, D.C. interview, Mr. Fortenberry discussed the call from Dr.
19 Ayoub in much greater specificity. Mr. Fortenberry expressly disclosed that Dr. Ayoub
20 made a statement to the effect that if they did another fundraiser, “the amounts wouldn’t be
21 as large because Gilbert won’t be involved.” Trial Ex. 145. Mr. Fortenberry made clear
22 that he believed Mr. Chagoury was a foreign national and that the comment therefore gave
23 him “concern.” Trial Exs. 146, 1133. He further indicated that he was concerned by the
24 call from Dr. Ayoub because it suggested that a foreign national could possibly have been
25 involved in some way in the fundraiser, which was a “red flag.” Id.
26         Given these disclosures, to the extent the Government has relied on Mr. Fortenberry’s
27 statements denying that he was “aware” of illegal foreign contributions to his campaign, the
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 1 issue is thus not whether it would have been a material false statement to deny any
 2 knowledge, but whether it was a materially false for Mr. Fortenberry to admit only to having
 3 concern rather than awareness. For the same reason, Mr. Fortenberry’s statements to the
 4 effect that all of the contributions to his campaigns were disclosed in his FEC reports cannot
 5 be construed as some sort of absolute assurance that none of the disclosed contributions
 6 originated with or were reimbursed by some other person.
 7         And even Mr. Fortenberry’s denial that he was specifically told by Dr. Ayoub that he
 8 was given $30,00 cash by Mr. Baaklini (and his related statement that he would have been
 9 “horrified” to learn that) must be considered in light of the fact that he did disclose that
10 heard a “concerning” comment suggesting that Gilbert Chagoury (a foreign national) might
11 have been involved. Given Mr. Fortenberry’s disclosure of the potential involvement of a
12 foreign national, these statements cannot be seen as a blanket assertion that the call from
13 Dr. Ayoub gave him no reason to suspect that illegal contributions may have been given to
14 his campaign in February 2016.
15         B.    For a Statement to Be Material, It Must Be Capable of Influencing a
                 Specific Government Decision and not Just Trigger Investigation of the
16               Defendant’s Veracity.
17         In United States v. Gaudin, 515 U.S. 506, 511 (1995), the Supreme Court made clear
18 that “[d]eciding whether a statement is ‘material’ requires the determination of at least two
19 subsidiary questions.” Id. at 512. First, one must determine “what statement was made.” Id.
20 Second, one must determine “what decision was the agency trying to make.” Id. Only after
21 a court has identified the “statement” and the relevant “decision” can the court determine
22 “whether the statement was material to the decision.” Id. In United States v. Kungys, the
23 Supreme Court went further, explaining the need to “fix as the central object of the inquiry”
24 whether the misrepresentation or concealment was capable of affecting the “official
25 decision in question.” 485 U.S. at 771-72.
26         Despite it being the “central object of the inquiry,” the Government’s Opposition
27 fails to identify any evidence that it was presented with any specific decision that could
28 have been influenced by Mr. Fortenberry’s statements. The Government speaks vaguely
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 1 about various “open questions” that remained at the time of the interviews. Opp’n at 4, 5,
 2 11 & n. 2. But the Government fails to show how knowledge of the true facts (as opposed
 3 to whether Mr. Fortenberry was being entirely truthful and forthcoming) could have
 4 affected any specific government decision.
 5         Gaudin and Kungys also make clear that materiality in a false statements case cannot
 6 be based solely on an investigation into the veracity of the statement itself. In Kungys, the
 7 Supreme Court held that a petitioner’s misrepresentations about his date and place of birth
 8 on his naturalization petition were not material for purposes of the “concealment or
 9 misrepresentation” provision of 8 U.S.C. § 1451(a). The Court explicitly rejected the Third
10 Circuit’s reasoning that if Kungys had “told the truth at the time he applied for citizenship,
11 the discrepancies between the truth and his visa materials would have resulted in either a
12 field investigation or an outright denial of the petition.” Id. at. 774-75. Justice Scalia
13 explained that “for purposes of determining the natural tendency of a misrepresentation to
14 affect a decision . . . what is relevant is what would have ensued from official knowledge of
15 the misrepresented fact (in this case, Kungys’ true date and place of birth), not what would
16 have ensued from official knowledge of inconsistency” between the truth and his statement.
17 Id. at 775.
18         The Supreme Court’s decisions in Gaudin and Kungys make clear that the statements
19 underlying all three counts against Mr. Fortenberry were immaterial as a matter of law.
20 After all, the Government had complete audio recordings and transcripts of the call from
21 Dr. Ayoub which formed the entire predicate for the Government’s Section 1001 case. The
22 Government already had actual knowledge of the “misrepresented fact[s]” pivotal to the
23 materiality inquiry. Kungys, 485 U.S. at 775.
24         The Government asserts that the Supreme Court’s decision abrogating the
25 “exculpatory no” doctrine in Brogan v. United States, 522 U.S. 398 (1998) requires the
26 opposite conclusion. Not so. Brogan did not address the test of materiality. Id. Brogan
27 merely held that there was no categorical exception in Section 1001 for false statements in
28 the nature of a denial of wrongdoing. Id.
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 1         The Government’s assertion that a false statement is material if it triggers “an
 2 investigation into the veracity of a lie” (Opp’n at 7) is foreclosed by Gaudin and Kungys. It
 3 is also contrary to the Government’s positions the case against General Flynn. In that case,
 4 the Government itself urged that a statement must be material “to the underlying
 5 investigation.” See Exhibit A, Gov.’s Mot. Dismiss Crim. Info. Against Def. Michael T.
 6 Flynn, Case No. 1:17-cr-232-EGS (D.D.C. 2021) at 12 (citing Gaudin, 515 U.S. at 509, and
 7 United States v. Kim, 808 F. Supp. 2d 44, 59 (D.D.C 2011)). The Government further
 8 acknowledged that the statement must be “reasonably likely to influence the tribunal in
 9 making a determination required to be made.” Id. at 1, 12 (citing United States v. Weinstock,
10 231 F.2d 699, 701 (D.C. Cir. 1956)).
11         C.    As a Matter of Law, Mr. Fortenberry’s Statements Were Not Capable of
                 Influencing Any Specific Government Decision.
12
13         The Government has identified no specific decision it needed to make that could have
14 been affected by any of the statements or alleged acts of concealment at issue in this case.
15 The Government indisputably knew the truth with respect to every single one of the
16 misstatements alleged in Counts 2 and 3, and with respect to each items of information
17 allegedly concealed by Mr. Fortenberry in Count 1.
18         The statements at issue in Count 2 are also immaterial as a matter of law when viewed
19 in the context of Mr. Fortenberry’s other related statements on the same subjects. Mr.
20 Fortenberry’s insistence at both interviews that he was not “aware” of any illegal foreign
21 contributions to his campaigns must be considered in the context of the fact that he admitted
22 to being “concerned” about the very same thing. Jiang, 476 F.3d 1026. Fine distinctions,
23 such as the one drawn by Mr. Fortenberry in his discussions with the FBI agents and
24 AUSA’s who questioned him, are common in modern litigation. To condemn Mr.
25 Fortenberry for those statements is to condemn our entire system of justice.
26         The same is true of Mr. Fortenberry’s statements to the effect that all of his campaign
27 contributions were publicly disclosed. In the Lincoln interview, Mr. Fortenberry
28 volunteered that “[e]very contribution I have is publicly disclosed” and “that’s all publicly
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 1 listed, who gave.” Trial Ex. 129; Trial Tr. 3/22/2022 at 79. In the context of Mr.
 2 Fortenberry’s extensive disclosures regarding the call from Dr. Ayoub, including that it
 3 gave him “concerns” about possible funding from Gilbert Chagoury, these statements were
 4 not materially false or misleading. Instead, they were literally true and therefore incapable
 5 of supporting a conviction. Bronston v. United States, 409 U.S. 352, 361 (1973).
 6         The Government argues that these statements were untrue because the FEC reports
 7 did not disclose the “true sources” of the funds. Opp’n at 18. But Mr. Fortenberry did not
 8 say that they did. The Supreme Court in Bronston was clear that a literally truthful answer
 9 cannot support a perjury conviction even if the witness “intended to sidetrack his
10 questioner” and “shrewdly calculated to evade.” Id. at 361-62.
11         The Government argues that Bronson applies only to statements that are “merely
12 nonresponsive to the question posed.” Opp’n at 22 n. 8. But the Ninth Circuit has interpreted
13 Bronston more broadly to foreclose prosecutions for statements that are literally true “even
14 assuming the witness intends to mislead his questioner by the answer.” United States v.
15 Boone, 951 F.2d 1526, 1536 (9th Cir. 1991); see also United States v. Mandanici, 724 F.2d
16 914, 921 (2d Cir. 1984) ( “a defendant may not be convicted under § 1001 on the basis of a
17 statement that is, although misleading, literally true”).
18         The Supreme Court in Bronston observed that “the burden [is] on the questioner to
19 pin the witness down to the specific object of the questioner’s inquiry.” 409 U.S. at 360.
20 The Government should not be allowed to ask deliberately vague questions, cut off the
21 witness and then fail to follow up when the witness attempts to provide information other
22 than a simple “yes or no,” and then prosecute the witness under Section 1001.
23 II.     SECTION 1001 IS VOID FOR VAGUENESS
24         As discussed in Mr. Fortenberry’s opening brief, it is well-established as a matter of
25 due process that a penal statute is void for vagueness if it fails to define the criminal offense
26 with “sufficient definiteness that ordinary people can understand what conduct is prohibited
27 and in a manner that does not encourage arbitrary and discrimatory treatment.” Kolender v.
28 Lawson, 461 U.S. 352, 357 (1983). The void-for-vagueness doctrine “not only guarantees
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 1 that people have ‘fair notice’ of the conduct a statute proscribes” but also, and more
 2 importantly, “guards against arbitrary or discriminatory law enforcement by insisting that a
 3 statute provide standards to govern the actions of police officers, prosecutors, juries, and
 4 judges.” Sessions v. Dimaya, 138 S.Ct. 1204, 1212 (2018).
 5         A.    The Facts of This Case Demonstrate that Section 1001 Is Subject to
                 Abuse
 6
 7         Justices Ginsburg and Souter warned that Section 1001 permits “an overzealous
 8 prosecutor or investigator” to “create a crime” by “surprising the suspect,” sometimes in
 9 “extremely informal circumstances,” and asking about things the prosecutor or investigator
10 already know and provoking “a false denial.” Brogan, 522 U.S. at 416-17. Sadly, the
11 uncontroverted evidence at trial established a number of undisputed, objective facts that
12 reveal that what Justices Ginsburg and Souter feared is precisely what happened in this case,
13 most clearly during the Nebraska interview at the heart of Count 2:
14         Suspicions of Other Crimes by an Overzealous Investigator: The lead FBI agent
15 on the case at the time of the Lincoln interview was Agent Todd Carter. Agent Carter
16 testified extensively that he suspected that the February 2016 illegal campaign contributions
17 were essentially a “bribe” in exchange for Mr. Fortenberry’s support for the Genocide
18 Resolution. 2 See, e.g., Trial Tr. 3/17/2022 AM at 104:13-19, 111:23–112:25; see also Trial
19 Tr. 3/17/2022 PM at 57. He also expressly used this suspicion to secure approval from FBI
20 and DOJ leadership for key steps he took investigating then-Congressman Fortenberry.
21 Trial Ex. 1057 at 36-37, 39-40.
22         Pre-existing Plan to Seek Indictment: Prior to the agents’ surprise visit to Mr.
23 Fortenberry’s home in Lincoln, lead FBI agent Todd Carter had already documented his
24
25   2
          Agent Carter’s suspicions were founded on a basic misunderstanding of the
26 legislative history. Carter incorrectly believed that Congressman Fortenberry “proposed
   HR75 on or about March 15, 2016 . . . just 24 days after [the February 2016 fundraiser].”
27 Trial Ex. 1057 at 39-40. HR75 was actually introduced in the House by Congressman
28 Fortenberry much earlier; March 2016 was when it was received in the Senate. Trial Ex.
   1120.
                                                 9
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 1 plan to seek the indictment of then-Congressman Fortenberry. In the memo used to obtain
 2 approval for the Lincoln interview, Agent Carter wrote: “Case agents will also seek to indict
 3 Fortenberry with Misprison of Felony and Conduit Contributions. In addition, if case agents
 4 determine from the interview that Fortenberry is making false statements he will be charged
 5 with False Statement.” Trial Ex. 1129. This memo makes clear that the lead FBI agent who
 6 conducted the Lincoln interview had already determined that he would “seek to indict
 7 Fortenberry” and that one of the potential charges he would develop was a false statement
 8 charge under Section 1001.
 9         Informal Context of Discussion: The evidence at trial established that the
10 statements at issue in Count 2 were made during a discussion late on a Saturday night (from
11 8:25pm to about 9:05pm) in the living room of Mr. Fortenberry’s home. Trial Tr. 3/22/2022
12 at 40, 48. Agents did not inform House Counsel or Mr. Fortenberry’s staff in Washington,
13 D.C. Nor did they suggest that Mr. Fortenberry was a subject of the investigation or that he
14 should seek the advice of counsel.
15         Intentional Deception: The agents who conducted the Nebraska interview
16 admittedly tricked Mr. Fortenberry by using a “ruse” – i.e., lying to him about the purpose
17 of the interview. Trial Tr. 3/22/2022 at 41-42. As the Government admits, the agents told
18 Mr. Fortenberry at the outset that they wanted to speak with him about a “background
19 investigation” with a “national security” aspect. Id.
20         According to Agent O’Leary, the purpose of the ruse was to “set people at ease.” 3 Id.
21 However, the “ruse” fundamentally misled Mr. Fortenberry about the agents’ true intentions
22 and the nature of their investigation. According to Special Agent Choe, the only FBI witness
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26   3
          Agent Carter also falsely told Mrs. Fortenberry that Mr. Fortenberry’s staff was
   aware of what was going on. Trial Tr. 3/22/2022 at 42. He also repeatedly stated that he
27 was from the Omaha office. Id. at 43-44. Prior to the interview, Mr. Fortenberry learned
28 that these were lies, which caused him to be so distrustful of the agents that he called the
   local police and requested that they be present for the interview. Id. at 44-45.
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 1 who testified on the subject, 4 the actual purpose of the interview in Lincoln was “to see
 2 what information, if any, the Congressman would provide about the June 4th, 2018, phone
 3 call” and to “test his credibility.” Trial Tr. 2/23/2022 124:12-17; 125:19-21. The agents of
 4 course never told Mr. Fortenberry that.
 5          Ambivalence About the Individual’s Ability to Recall: The agents conducted the
 6 Nebraska interview late at night after then-Congressman Fortenberry had returned home
 7 from a long day of touring extraordinary flood damage the first day after returning from a
 8 week of sleepless travel to Africa. Moreover, the agents proceeded with the interview even
 9 though Mr. Fortenberry was clearly suspicious and angry at them after catching them in
10 numerous lies. See footnote 4 above. Mr. Fortenberry was so aggravated by the agents’ lies
11 and “unprofessional” behavior that he even insisted on having a “conversation before the
12 conversation” in which he admonished the agents that he was “not in the right frame of
13 mind.” Trial Ex. 115; Trial Tr. 3/22/2022 at 47-48. In proceeding with the interview at that
14 time, the agents surely knew that Mr. Fortenberry would be fatigued, distrustful of them,
15 and presumably less cooperative than he otherwise would be.
16          Indications Agents Were Not Seeking the Facts, But Were Instead Deliberately
17 Building a Section 1001 Charge: After proceeding with the interview under these
18 conditions, the agents at the Lincoln interview:
19       • Pressed for unequivocal denials to vague questions as to whether Mr. Fortenberry
20          was “aware” of illegal campaign contributions. See Trial Ex. 1108 at 8:36 to 10:55
21          and 14:18 to 15:56: O’Leary: “We’re just asking what you know”; Carter: “you either
22          would know or your don’t know”; Carter: “So, no?”; Carter: “But you’re not aware
23          of that.”; Carter: “But the answer was no, right?”.
24       • Failed to ask obvious follow-up questions, such as whether he “was ever told,” or
25          “had any reason to suspect” that his campaign had ever received any illegal
26          contributions. See Trial Exs. 123, 128, 129, 130, 1108.
27
28   4
           Special Agent Choe was the only FBI agent to testify regarding the purpose of the
     Lincoln interview. Agent Carter addressed only events through “mid-2018.” Opp’n at 3.
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          REPLY BRIEF IN SUPPORT OF DEFENDANT’S RULE 29 MOTION FOR
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 1      • Deliberately cut off Mr. Fortenberry on two occasions when he began to discuss the
 2         February 2016 fundraiser and “a couple of people” connected to the community that
 3         hosted the fundraiser in direct response to questions about his knowledge of illegal
 4         contributions. See Trial Ex. 1108 and discussion of Lincoln interview above.
 5      • Methodically developed evidence of Mr. Fortenberry’s knowledge of the illegality
 6         of foreign and conduit contributions to establish willfulness. See Trial Ex. 128.
 7         These actions plainly demonstrate that the purpose of the questioning in the Lincoln
 8 interview was not actually to seek any new information about the call from Dr. Ayoub
 9 (which the agents of course already knew everything about given that they had recorded
10 and transcribed it), but was instead an effort to provoke “false denials” and other evidence
11 that could be used to support a prosecution under Section 1001.
12         Perhaps more importantly, the agents who conducted the Lincoln interview failed to
13 inform Mr. Fortenberry of the true nature and purpose of their interrogation. As a
14 consequence, Mr. Fortenberry had no way to know with any precision what information
15 would be material. As discussed above, Special Agent Choe testified that the actual purpose
16 of the interview was “to see what information, if any, the Congressman would provide about
17 the June 4th, 2018, phone call” and to “test his credibility.” Trial Tr. 2/23/2022 124:12-17;
18 125:19-21. But the agents never told Mr. Fortenberry that. Instead, they falsely told Mr.
19 Fortenberry that they were conducting a “background” investigation with a “national
20 security” component. Trial Tr. 3/22/2022 at 41-44.
21         Later in the interview, Special Agent Carter casually remarked in passing that they
22 whey wanted to discuss “In Defense of Christians and campaign funding.” Trial Ex. 115.
23 In its Opposition to this motion, the Government now claims that by making that casual
24 remark Agent Carter “specifically advised about what the federal government was
25 investigating and the topics of interest, so that there could be no question as to what was
26 material to the Federal Investigation.” Opp’n at 15. But that one casual statement by Agent
27 Carter did not necessarily negate or retract his prior representations that the agents were
28 merely conducting a “background investigation.” Agent Carter never informed Mr.
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 1 Fortenberry that his prior statements about the nature of the investigation were untrue.
 2         In its zeal to sustain its conviction of Mr. Fortenberry, the Government goes on to
 3 argue that the “Defendant clearly understood that his discussion with Dr. Ayoub on the June
 4 4 Call was a critical and material topic of interest to the government” and that Mr.
 5 Fortenberry “had copious and specific notice of what was prohibited under Section 1001.”
 6 Opp’n at 15. But these statements plainly are not true, especially with respect to the Lincoln
 7 interview. During the Lincoln interview, Mr. Fortenberry had no idea what the true purpose
 8 of the interview was. He certainly did not know that it was to “test his credibility” (as
 9 Special Agent Choe testified) or to “seek to indict [him]” (as Special Agent Carter
10 documented in the memorandum seeking approval for the interview).
11         B.     This Case and Other High Profile Section 1001 Prosecutions Confirm
                  that Section 1001 Can Lead to Arbitrary and Unjust Outcomes When
12                Applied to the Subjects of Covert Investigations.
13         As discussed in Mr. Fortenberry’s opening brief, Section 1001 is particularly subject
14 to abuse when, as here, it is applied to statements made in connection with a secretive
15 criminal investigation. When a person applies for some government benefit or payment, the
16 applicant typically knows the relevant criteria and thereby has reasonable notice of the type
17 of information that may be material to the government’s decision. But when individuals are
18 questioned by law enforcement officers and are not informed of the true purposes of the
19 agents’ questions or the exact nature of their investigation, the individuals being questioned
20 have no way to know what sort of statements might impact that investigation and potentially
21 lead to severe criminal penalties.
22         Federal law enforcement agents may have the right to use ruses and other deception
23 in connection with their work preventing and investigating crime. But that does not give
24 them a license to use such techniques to manufacture crimes under Section 1001 by
25 depriving the persons with whom they interact of the information they need to ensure that
26 they do not break the law by unwittingly making a statement the investigators could deem
27 material to their work. They must instead be mindful when uses ruses and deception that by
28 keeping the nature of their investigation or the true purposes of their questioning secret,
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 1 they may make it impossible for the subjects to know what statements would be material
 2 and therefore proscribed by Section 1001.
 3         The case of General Michael Flynn is instructive. General Flynn was one of the most
 4 powerful leaders in this country and a high ranking member of the intelligence community.
 5 Recognizing the vast power that the FBI and DOJ could bring to bear against him and his
 6 family, the General initially pleaded guilty to a violation of Section 1001 only for later
 7 evidence to establish (even to the satisfaction of the Attorney General himself) that the
 8 alleged false statement was utterly immaterial, deliberately manufactured by some of the
 9 highest ranking leaders of the FBI, and not the proper subject of a federal prosecution. See
10 Exhibit A, Gov.’s Mot. Dismiss Crim. Info. Against Def. Michael T. Flynn, Case No. 1:17-
11 cr-232-EGS (D.D.C. 2021).
12         Importantly, the Department of Justice noted in a motion later seeking dismissal of
13 the charges that General Flynn “stipulated to the essential element of materiality without
14 cause to dispute it insofar as it concerned not his conduct but rather that of the agency
15 investigating him.” Id. at 19. In this statement, the DOJ recognized that because materiality
16 is judged by reference to the potential impact on a government decision, it can be impossible
17 for a person interviewed in connection with a covert investigation to know whether any
18 particular statement would be material to the investigation.
19         As Chief Justice Rehnquist explained Section 1001 is subject to potential abuse in
20 part because the standard of materiality turns on the nature of an investigation that may be
21 kept secret from the defendant or even misrepresented to him. 5 United States v. Yermian,
22 468 U.S. 63, 82 (1984) (Rehnquist, J., dissenting) (“§ 1001 can be used to punish “the most
23
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     5
          The sweeping breadth of Section 1001 is another problem. See, e.g., Alex Kozinski
25 & Misha Tseytlin, You’re (Probably) a Federal Criminal, in IN THE NAME OF JUSTICE 43,
26 47 (2009) (“Your mom taught you not to lie, but she probably didn’t tell you that making a
   false statement to any federal official dealing with any matter in his jurisdiction will make
27 you a federal criminal.”) For when the law casts too wide a net, justice depends all too much
28 on the discretion of law enforcement officers and prosecutors–who are subject to bias and
   error like all other humans.
                                                 14
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1 casual false statements so long as they turned out, unbeknownst to their maker, to be
2 material to some federal agency function . . . [making] a surprisingly broad range of
3 unremarkable conduct a violation of federal law.) (internal quotation marks omitted).
4           C.    Ninth Circuit Precedent Does Not Preclude Mr. Fortenberry’s As-
                  Applied Challenge to the Validity of Section 1001.
5
            The Government asserts that the Ninth Circuit’s decision in United States v. Matanky,
6
     482 F.3d 1319, 1322 (9th Cir. 1973) precludes Mr. Fortenberry’s vagueness challenge to
7
     Section 1001. However, Matanky is readily distinguishable from this case. In Matanky, a
8
     medical doctor submitted requests for payments from Medicare that falsely claimed he
9
     made certain visits to patients in convalescent hospitals which he had not in act made. Id.
10
     at 1321. The decision suggests that there was no dispute regarding the materiality of the
11
     false Medicare claims, only a dispute as to the amount received by the doctor as a result of
12
     the false billings. Id. at 1324. Given the totally different fact pattern of the Matanky case, it
13
     has absolutely no bearing on Mr. Fortenberry’s as-applied challenge to Section 1001.
14
            There is also nothing procedurally improper in Mr. Fortenberry challenging the
15
     constitutionality of Section 1001 in this Rule 29 motion. Only with the benefit of the trial
16
     record could Mr. Fortenberry meaningfully present the facts and circumstances to the Court
17
     for an as-applied challenge. The Indictment did not provide sufficient detail regarding the
18
     interviews for the Court to assess an as-applied vagueness challenge.
19
     III.   CONCLUSION
20
            For the foregoing reasons, former Congressman Fortenberry respectfully requests
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     that the Court enter judgment of acquittal in his favor on all counts.
22
23
                                                     Respectfully submitted,
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25
     Dated: June 14, 2022                            BARTLIT BECK LLP
26
27                                                   By: ___________               .
                                                     Glen E. Summers
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                                        15
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